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5
     Attorneys for Defendant
6    JOE NEWMAN GILL
7
8                               IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )         NO. 1:05-cr-461 OWW
                                           )
12                     Plaintiff,          )         ORDER CONTINUING SENTENCING
                                           )
13         v.                              )
                                           )
14   JOE NEWMAN GILL,                      )         Judge: Hon. Oliver W. Wanger
                                           )
15                     Defendant.          )
                                           )
16   _____________________________________ )
17                                               ORDER
18          IT IS SO ORDERED. The sentencing hearing in this matter is continued until May 23, 2006 at
19   9:00 a.m.
20          DATED: April __17___, 2006
21                                                   /s/ OLIVER W. WANGER
                                                     Hon. Oliver W. Wanger
22                                                   United States District Judge
                                                     Eastern District of California
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